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    UNITED STATES DISTRICT COURT EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

TIMOTHY KING, MARIAN SHERIDAN,
JOHN HAGGARD, CHARLES RITCHARD,
JAMES DAVID HOOPER, and DARREN RUBINGH,

                             Plaintiffs,

                                                     Hon. Linda Parker
v                                                    No. 2-20-cv-13134



GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan,
JOCELYN BENSON, in her official capacity
as Michigan Secretary of State and the Michigan BOARD OF STATE
CANVASSERS,

Defendants, CITY OF DETROIT,
Intervening Defendant,

ROBERT DAVIS,
Intervening Defendant,

DEMOCRATIC NATIONAL COMMITTEE
and MICHIGAN DEMOCRATIC PARTY,
Intervening Defendant.


      PLAINTIFFS’ EX PARTE MOTION TO EXCEED PAGE LIMIT FOR
     PLAINTIFFS’ OPPOSITION TO THE CITY OF DETROIT’S MOTION
    FOR SANCTIONS, FOR DISCIPLINARY ACTION, FOR DISBARMENT
     REFERRAL AND FOR REFERRAL TO STATE BAR DISCIPLINARY
      BODIES AND TO THE DEFENDANTS WHITMER AND BENSON’S
    CONCURRENCE IN CITY OF DETROIT’S MOTION FOR SANCTIONS




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      Now come Plaintiffs, SOUTHERN DIVISIONTIMOTHY KING, MARIAN

SHERIDAN, JOHN HAGGARD, CHARLES RITCHARD, JAMES DAVID

HOOPER, and DARREN RUBINGH, by counsel, and request that this Court

allow Plaintiffs to file a brief in response to the City of Detroit’s Motion for

Sanctions, for Disciplinary Action, for Disbarment Referral, and for Referral to

State Bar Disciplinary Bodies and to the Defendants Whitmer and Benson’s

Concurrence in the City of Detroit’s Motion for Sanctions that exceeds the 25-page

limit established by L.R. 7.1(d)(3)(A) for good cause shown in light of the

important nature of this elections case. In support thereof, Plaintiffs state:



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   1. Because the legal questions before this Court are numerous and distinct and

       require the discussion of multiple factors, along with an application of the

       law to the facts, Defendants require additional pages to adequately make

       these arguments.

   2. Plaintiffs brief is approximately 60 pages in length.


       WHERFORE, due to the important nature of this case and the legal

questions presented, Plaintiffs’ request to extend the page length to 60 pages is

warranted and reasonable in this case.


                                 Respectfully submitted,

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Date: January 18, 2021




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                              Certificate of Service

       I hereby certify that on January 19, 2020, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.




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